                               IN THE UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF TENNESSEE
                                           AT NASHVILLE

ALERT SECURITY & PATROL, LLC d/b/a ASPI,                )
                                                        )
         Plaintiff,                                     )
                                                        )
v.                                                      )     Case No: 3:09cv785
                                                        )
EPANDCO HOLDINGS, LLC, and                              )     Judge Trauger
NATIONWIDE MUTUAL INSURANCE COMPANY,                    )     Magistrate Judge Brown
                                                        )
         Defendants.                                    )     JURY DEMAND



                                      ORDER OF DISMISSAL


         The Court, having been notified by the parties by Joint Stipulation that the case

has been fully settled and compromised and should be dismissed with prejudice,

         It is hereby ORDERED that this case is dismissed with prejudice. Each party will

bear their own discretionary costs.




                                                   ________________________________
                                                   ALETA A. TRAUGER
                                                   U.S. DISTRICT JUDGE




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APPROVED FOR ENTRY:


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                               CERTIFICATE OF SERVICE

         I hereby certify that on this 4th day of February, 2010, a copy of the foregoing
ORDER OF DISMISSAL was filed electronically. Notice of this filing will be sent by
operation of the Court’s electronic filing system to all parties indicated on the electronic
filing receipt. All other parties will be served by regular U.S. Mail. Parties may access
this filing through the Court’s electronic filing system.


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